                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 COLUMBIA DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )      CASE NO. 1-11-00010
                                                 )      JUDGE SHARP
LARRY GLEN BLY                                   )
                                                 )

                                        ORDER


       Pending before the Court is Defendant’s Unopposed Motion to Continue Sentencing

Hearing (Docket No. 211).

       The motion is GRANTED and the sentencing hearing scheduled for July 28, 2014, is

hereby rescheduled for Wednesday, September 24, 2014, at 10:30 a.m.

       It is so ORDERED.




                                                KEVIN H. SHARP
                                                UNITED STATES DISTRICT JUDGE




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